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                                No. 23-15992


       United States Court of Appeals
            for the Ninth Circuit
                                ________________

                       FEDERAL TRADE COMMISSION,
                                                           Plaintiff-Appellant,

                                      v.

           MICROSOFT CORP. AND ACTIVISION BLIZZARD, INC.,
                                              Defendants-Appellees.
                                ________________

                     Appeal from an Order of the
      U.S. District Court for the Northern District of California
        No. 3:23-cv-02880-JSC, Hon. Jacqueline Scott Corley
                                ________________

            OPPOSITION TO FTC’S MOTION FOR AN
               INJUNCTION PENDING APPEAL
                                ________________

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               RESPONSE TO RULE 27-3 CERTIFICATE

     Defendants-Appellees Microsoft Corporation (“Microsoft”) and Ac-

tivision-Blizzard, Inc. (“Activision”) provide the following additional facts

omitted from Plaintiff Federal Trade Commission’s (“FTC”) Rule 27-3

Certificate. See Mot. i.

     First, the FTC fails to disclose until the final paragraph of its brief,

Mot. 20, that the merger has a termination date of July 18, 2023 (four

days from now) and omits entirely the provision of the merger agreement

requiring Microsoft to pay a $3 billion termination fee if the merger does

not close due to, inter alia, regulatory obstacles. These factors are cer-

tainly relevant to when and how the Court rules on the motion; indeed,

the district court found “the potential skuttling of the merger” to be “a

separate, independent reason” to deny the FTC’s request for an injunc-

tion. Op.52.

     Second, the FTC’s claimed emergency is entirely of its own creation.

Microsoft and Activision first notified the FTC of the merger on February

1, 2022. Op.19. The Commission filed an administrative complaint chal-

lenging the merger on December 8, 2022. Op.20. Breaking from its stand-




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ard practice in merger cases, the FTC did not file a federal court com-

plaint seeking a preliminary injunction at that time. On the contrary, it

set its administrative hearing for August 2, 2023—after the merger

agreement’s termination date. Thus, the FTC acted for the better part of

a year and a half as though this case was not an emergency necessitating

federal court intervention. The parties and the Court face a time crunch

because—and only because—“the FTC did not file this action to prelimi-

narily enjoin the merger until June 12, 2023—less than six weeks before

the termination date.” Op.20.

     Finally, it is hard to comprehend the FTC’s arguments for “why the

motion could not be filed earlier,” Mot. iii. The district court sent the par-

ties a copy of its ruling on the evening of Monday, July 10 (six working

days after the close of evidence), giving the FTC more than four days to

seek emergency relief before the expiration of the TRO at 11:59 PM on

Friday, July 14. For reasons unknown and unexplained, the FTC did not

file any emergency motion until Thursday, July 13, and did not file its

motion in this Court until well after the close of business on that date,




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seeking an order granting extraordinary relief within 28.5 hours.1 The

Court should not mistake the FTC’s litigation gamesmanship for an

emergency meriting this Court’s deviation from the ordinary appellate

process.




     1 In fact, in its district court motion filed at 11:49 a.m. PDT, the
FTC represented that it was filing this motion “contemporaneously.”
Dkt.313. It did not actually file this motion until 7:37 p.m. PDT. In the
intervening nearly eight hours, Microsoft and Activision responded to the
FTC’s district court motion (Dkt.315) and the district court denied
(Dkt.317) the FTC’s motion.

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             CORPORATE DISCLOSURE STATEMENT

     Under Federal Rule of Appellate Procedure 26.1, Defendants-Ap-

pellees state as follows:

     Defendant-Appellee Microsoft Corp. (“Microsoft”) is a publicly held

company that has no parent corporation, and no publicly held corporation

owns 10% or more of more of its stock.

     Defendant-Appellee Activision Blizzard, Inc. (“Activision”) is a pub-

licly held company that has no parent corporation, and no publicly held

corporation owns 10% or more of its stock.



July 14, 2023                               /s/ Beth Wilkinson
                                            Counsel for Microsoft Corp.


                                            /s/ Steven C. Sunshine
                                            Counsel for Activision Blizzard Inc.




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                             INTRODUCTION

     This merger involves the acquisition by Microsoft, manufacturer of

the lowest-selling videogame console, of Activision, one of many develop-

ers of videogames. As the district court found, in a careful and thorough

opinion, this merger will make the gaming industry more competitive.

Activision’s popular video game franchises, including Call of Duty, will

remain available to consumers everywhere they are today. But the trans-

action will also increase access to Activision’s games by allowing consum-

ers to access them in new ways, on new platforms, and at lower prices.

     The FTC’s challenge to this procompetitive merger has been ex-

traordinary from the start. On the merits, the FTC asked the district

court to be the first in decades to find a vertical merger unlawful—and

the first in history to enjoin a vertical merger under Section 13(b). The

lack of precedent for the FTC’s case is unsurprising: Unlike horizontal

mergers, vertical mergers do not involve any presumption of harm be-

cause they do not eliminate a competitor from the marketplace and are

widely recognized to be procompetitive. See United States v. AT&T, Inc.,

916 F.3d 1029, 1032 (D.C. Cir. 2019). The U.S. antitrust agencies have

rarely sought to enjoin vertical mergers and have lost every recent case



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when they tried. And this case is an exceptionally poor vehicle for a

change of direction because the acquirer is a weaker competitor who has

committed to expanding access to the content it is acquiring.

     Procedurally, the “emergency” here is of the FTC’s own making. Alt-

hough the FTC has long known that the defendants’ merger agreement

has a July 18, 2023, termination date, it departed from its usual ap-

proach and waited until June 12 to sue in federal court. The agency

sought to kill the transaction by asking the district court to enjoin the

merger pending resolution of the FTC’s underlying administrative pro-

ceedings—a multi-year process that no unconsummated merger has ever

survived.

     The district court, however, put the FTC’s unprecedented case to

the test on an expedited schedule. Just ten days after the complaint was

filed, the district court held a five-day evidentiary hearing featuring hun-

dreds of exhibits and the testimony of 16 witnesses. And as the district

court found in its meticulously detailed 53-page opinion, Dkt.305, (“Op.”),

the FTC’s case collapsed at trial. Indeed, the district court repeatedly

found “no evidence” to support the FTC’s claims of harm in any of its




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alleged markets under governing law. The court further found, as an in-

dependent ground for denying the FTC’s motion, that a preliminary in-

junction (1) would harm consumers by “skuttling the merger,” given the

FTC’s long process and the July 18 termination date, and (2) is unneces-

sary because Microsoft could readily divest Activision if the FTC’s admin-

istrative process ultimately produces a judicially affirmed order requir-

ing that outcome. Op.51-52.

     The FTC now asks this Court to take a still more extraordinary

step: Having failed to convince the district court to enjoin the transaction,

and having delayed several days in seeking relief, the FTC now requests

that this Court issue its own injunction to likely destroy this major, pro-

competitive transaction on 28.5 hours’ notice. The FTC identifies no plau-

sible basis for that request. On the merits, the FTC misrepresents the

standards that should apply in vertical merger cases like this one—

standards that the district court faithfully applied. The government’s

suggestion that its burden of proof should be close to the floor is belied by

decades of precedent and the long (and growing) list of unsuccessful ver-

tical merger challenges. The FTC also curiously focuses its attention on

its claim involving “foreclosure in the multi-game content subscription



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services market,” Mot. 14-15 (cleaned up), even though it presented vir-

tually no evidence about that market at trial, and the evidence showed

that the transaction will make that market more competitive. As to the

equities, the FTC offers no real responses to the district court’s consid-

ered findings and the reality that the merger could be unwound in the

unlikely event the FTC were to prevail at a second trial.

     The FTC may want the law to be different than it is, but this case

is not the place to start. The motion for injunction pending appeal should

be denied.

                   JURISDICTIONAL STATEMENT

     This Court has jurisdiction under 15 U.S.C. § 29(a) and 28 U.S.C.

§ 1291.

                              BACKGROUND

     The background of this matter is set forth in detail in the district

court’s opinion. Op.2-21. Defendants emphasize the following points.

     First, this is a vertical merger—not a horizontal merger—and it will

not increase concentration in any market alleged by the FTC. Op.50-51.

Because such mergers are often procompetitive, see United States v.

AT&T, Inc., 310 F. Supp. 3d 161, 197 (D.D.C. 2018), aff’d, 916 F.3d 1029



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(D.C. Cir. 2019), U.S. antitrust agencies have rarely even tried to chal-

lenge them, Op.21 n.4, and their recent efforts to block them have all

failed. E.g., AT&T, 310 F. Supp. 3d 161; United States v. UnitedHealth

Grp., Inc., 630 F. Supp. 3d 118 (D.D.C. 2022).

     Second, Microsoft and Activision lack market power. Microsoft’s

Xbox is a distant third-place manufacturer of gaming consoles. Op.5.

Similarly, Activision is neither the biggest nor the most successful game

publisher: Its share of the console publishing market is only 7.4 percent

by global revenue and 12.1 percent in the United States. Dkt.306 (Defs.’

FOF) ¶136.

     Third, contrary to its suggestions to this Court, the FTC’s evidence

at trial heavily focused on an implausible concern that Microsoft could

“foreclose” market-leading Sony by refusing to make Activision games,

and specifically a single game, Call of Duty, available on the PlayStation

console. Op.31-32. But the undisputed evidence at trial showed that it

would be economically disastrous for Microsoft to do so, hollowing out

much of the value Microsoft accounted for in its purchase price and al-

ienating gamers. Op.44. Indeed, Microsoft has offered Sony a 10-year

deal for access to Call of Duty on terms the district court addressed in its



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ruling. Op.38-39. Sony has so far rejected that offer. Op.39-40. But

PlayStation’s own CEO admitted that the merger “[i]s not an xbox exclu-

sivity play at all,” and predicted that Sony “will continue to see [Call of

Duty] on PS for many years to come.” Op.34.

     Finally, the evidence at trial showed that the merger will expand

choice for gamers and developers in several ways. The transaction will

make Activision games available on Microsoft’s Game Pass subscription

service for the first time. The plain facts established at trial are that (1)

Game Pass benefits consumers, because the gamers can get a wide vari-

ety of content for a single monthly price; (2) Activision does not believe in

the subscription business model, does not put new games into any sub-

scription services, and would not do so absent the merger; and (3) Mi-

crosoft will take that step post-transaction. The FTC was unable to con-

tradict this straightforward, procompetitive factual reality at trial, and

spent little time doing so, even though it newly focuses on this aspect of

the case for purposes of its Motion to this Court.

     Consistent with Microsoft’s goal of expanding access, the transac-

tion will also bring Activision games to cloud streaming services (for the




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first time), Op.47-49, and Call of Duty to rival Nintendo (for the first time

in a decade), Op.34. All these steps will increase consumer choice.

                                 ARGUMENT

      Because an injunction pending appeal is an “intrusion into the or-

dinary processes of ... judicial review,” Va. Petroleum Jobbers Ass’n v.

FERC, 259 F.2d 921, 925 (D.C. Cir. 1958), it “is always an extraordinary

remedy,” Bhd. of Ry. & S.S. Clerks v. Nat’l Mediation Bd., 374 F.2d 269,

275 (D.C. Cir. 1966). The movant must show (1) it is “likely to succeed on

the merits”; (2) it is “likely to suffer irreparable harm in the absence of

preliminary relief”; (3) “the balance of equities tips in [its] favor”; and (4)

“an injunction is in the public interest.” Doe v. San Diego Unif. Sch. Dist.,

19 F.4th 1173, 1176-77 (9th Cir. 2021) (citation omitted). In determining

whether the movant has shown a likelihood of success in the appeal, the

Court further considers the “limited and deferential” review accorded to

orders denying motions for a preliminary injunction, Cascadia Wildlands

v. Thrailkill, 806 F.3d 1234, 1240 (9th Cir. 2015), and the “deferential,

clearly erroneous standard” applicable to findings of fact. Martinez v.

Clark, 68 F.4th 1195, 1199 (9th Cir. 2023).




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 I.   The Government Will Not Prevail on Appeal.

      A.        The District Court Correctly Applied Well-Settled
                Precedent.

      1.       Under Section 7 of the Clayton Act, 15 U.S.C. § 18, the FTC

bears the burden of demonstrating that this merger “is likely to substan-

tially lessen competition in the relevant market.” AT&T, Inc., 916 F.3d

at 1032; accord, e.g., Int’l Shoe Co. v FTC, 280 U.S. 291, 298 (1930) (gov-

ernment must prove a challenged merger “probably will result in lessen-

ing competition to a substantial degree.”).

      In turn, Section 13(b) of the FTC Act authorizes a district court to

issue a preliminary injunction only if the FTC makes, in the Commis-

sion’s own words, “a robust evidentiary and legal showing”2 that the

transaction violates the underlying Section 7 standard. In other words,

the FTC’s evidence must “raise questions going to the merits so serious,

substantial, difficult and doubtful as to make them fair ground for thor-

ough investigation, study, deliberation and determination.” FTC v.

Warner Commc’ns Inc., 742 F.2d 1156, 1162 (9th Cir. 1984) (per curiam).




      2Prepared Statement of the FTC Before the S. Comm. on the Judi-
ciary 13 (Oct. 7. 2015), https://bit.ly/3NQ354T.

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This standard demands “more than mere questions or speculations sup-

porting” allegations of anticompetitive conduct. FTC v. Meta Platforms

Inc., 2023 WL 2346238, at *8 (N.D. Cal. Feb. 3, 2023), and requires the

court to consider the evidence in order to make a “preliminary assess-

ment of the merger’s impact on competition,” Warner, 742 F.2d at 1162.

     Courts have uniformly insisted on a robust showing of likely com-

petitive harm not only because a preliminary injunction blocking a mer-

ger is an “extraordinary and drastic remedy,” FTC v. Exxon Corp., 636

F.2d 1336, 1343 (D.C. Cir. 1980) (citation omitted), but also because such

injunctions typically “kill, rather than suspend, a proposed transaction,”

FTC v. Weyerhaeuser Co., 665 F.2d 1072, 1087 (D.C. Cir. 1981). Courts

have thus often rejected FTC requests for such deal-killing preliminary

injunctions. See, e.g., Meta, 2023 WL 2346238; FTC v. Thomas Jefferson

Univ., 505 F. Supp. 3d 522 (E.D. Pa. 2020); FTC v. RAG-Stiftung, 436 F.

Supp. 3d 278 (D.D.C. 2020); FTC v. Steris Corp., 133 F. Supp. 3d 962

(N.D. Ohio 2015); FTC v. LabCorp. of Am., 2011 WL 3100372 (C.D. Cal.

Mar. 11, 2011); FTC v. Arch Coal, Inc., 329 F. Supp. 2d 109 (D.D.C. 2004).

     2.    Contrary to the FTC’s suggestion, the district court quoted

and faithfully applied this Court’s precedent. See Op.22-23 (applying



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Warner). And the Court repeatedly made clear that it was not stepping

into the shoes of the FTC. It assumed the FTC was correct on numerous

disputed issues and even accepted positions the court found dubious. See,

e.g., Op.27 (“If the Court was the final decisionmaker ….”).

      3.       The FTC’s claim (Mot.12-13) that the district court subjected

its claims to too much scrutiny seeks to invent a legal error where none

exists.

      The FTC faults the district court for citing “cases for permanent

injunctions that decided the antitrust merits” rather than just cases ap-

plying 13(b). Mot.12 (emphases omitted). But the district court properly

cited Section 7 merits cases in assessing what the FTC would ultimately

have to find to prevail in its administrative challenge: a probability of

substantially lessened competition. See Op.30-31; Mot.1 (acknowledging

this standard). The court then denied the preliminary injunction because

it found that the FTC had provided no evidentiary basis for meeting that

Section 7 standard in the administrative proceedings. This is exactly the

same approach that other courts have taken when considering FTC mo-

tions for preliminary injunctions under Section 13(b). Compare Op.21-23,

51 (separately delineating the Section 7 and 13(b) standards) with



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Warner, 742 F.2d at 1160, 1162 (same); RAG-Stiftung, 436 F. Supp. 3d at

290-91 (same). It is, after all, impossible to “determine the likelihood that

the Commission will ultimately succeed on the merits,” Warner, 742 F.2d

at 1160, without considering what the FTC will be required to show.

     Regardless, any quibbles about the precise phrasing of the legal

standard are irrelevant because the district court repeatedly found that

the FTC had no evidence to support its claims of harm, meaning that they

would have failed under any plausible standard. See, e.g., Op.33-38 (ex-

plaining why, for eight different reasons plus an additional reason “not

necessary to the Court’s finding,” the “evidence points to no incentive to

foreclose [Sony]”); Op.40 (“overwhelming evidence of the combined firm’s

lack of incentive to pull Call of Duty from PlayStation”); Op.41 (FTC’s

expert’s opinions “not based on evidence”); Op.49 (lack of “explanation,

let alone evidence” why Activision would put its game on subscription

services); Op.50 (similar, as to cloud). It is telling that the FTC’s incom-

plete and revisionist narrative does not contain a single citation to the

district court’s factual findings, which “may not be set aside unless they

are clearly erroneous.” Beech Aircraft Corp. v. United States, 51 F.3d 834,

838 (9th Cir. 1995).



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     B.    The District Court Properly Found the FTC Had Not
           Shown Likely Competitive Harm to the Console
           Market.

     The FTC now seeks to minimize the claim that occupied the vast

majority of trial—the FTC’s assertion that Microsoft would withhold Call

of Duty from the PlayStation console. But the district court’s analysis of

that claim demonstrates that it correctly applied the law to the facts. For

that reason, Defendants briefly recap the key evidence and findings from

the trial court’s ruling on that issue before moving to the peripheral

claims the FTC now emphasizes.

     1.    The trial evidence confirmed that Microsoft would not with-

hold Call of Duty from PlayStation. Numerous witnesses testified with-

out contradiction that removing Call of Duty from PlayStation (the larg-

est and most profitable platform for that game) would inflict severe and

irreparable economic harm on Microsoft. Op.35-36. And depriving

PlayStation gamers of this long-established multiplayer, multiplatform

game would do irreparable damage to Microsoft’s brand and devalue Call

of Duty even for Xbox gamers by destroying the game’s multiplayer com-

munity. Op.36-37. The district court properly found this evidence, and

the FTC’s lack of response, persuasive.



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     In addition, the CEOs of Microsoft and Xbox committed under oath

to continue selling Call of Duty on PlayStation if Sony permits it—testi-

mony the FTC did not rebut in any way, despite access to millions of in-

ternal company documents. Op.35-36. The district court reasonably re-

lied on these statements as strong evidence that Microsoft would not

withhold Call of Duty from Sony. See UnitedHealth, 630 F. Supp. 3d at

154-55 (holding similar pledges by executives were more “probative of

post-merger behavior than [the government expert’s] weighing of costs

and benefits”); see also Brown Shoe Co. v. United States, 370 U.S. 294,

329 n.48 (1962) (“[E]vidence indicating the purpose of the merging par-

ties, where available, is an aid in predicting the probable future conduct

of the parties and thus the probable effects of the merger.”).

     The district court also correctly relied on real-world evidence that

Microsoft will not make Call of Duty exclusive to Xbox. Op.35-38. As the

district court found, the FTC’s claims about some of Microsoft’s past gam-

ing acquisitions, Mot. 8-9, are inapposite, see Op.44-45. The FTC could

not identify any instance where “an established multiplayer, multiplat-

form game with cross-play, that is, a game that shares Call of Duty’s

characteristics, has been withdrawn from millions of gamers and made



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exclusive.” Op.37. Rather, the district court found Microsoft’s 2014 acqui-

sition of Mojang (maker of Minecraft) “exempl[ary of] how a console seller

(and Microsoft in particular) behaves when acquiring a hugely popular

multiplayer cross-platform game.” Id. After Microsoft acquired Mojang,

“it continued to ship Minecraft on all those same platforms post-acquisi-

tion and made subsequent games in the franchise (e.g., Minecraft: Dun-

geons and Minecraft: Legends) available for Nintendo consoles and even

Sony’s subscription service, PlayStation Plus.” Id.

     2.    The FTC’s case predicting foreclosure fell apart at trial. De-

spite being the “lynchpin” of the FTC’s case as to consoles, the FTC’s eco-

nomic expert, Professor Lee, “[did] not dispute the evidence of Microsoft’s

lack of an economic incentive.” Op.40. His analyses, the district court

found, reasoned backwards from the numbers necessary to “make exclu-

sivity profitable,” rested on manufactured inputs, and ignored a variety

of relevant factors. Op.41-44.

     The FTC offers not a word in defense of its expert. It does not even

argue that the district court’s dismantling of his opinions was erroneous,

much less clearly erroneous. Therefore, the district court’s conclusion

that the FTC’s evidence “[did] not show the combined firm will probably



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have an economic incentive to withhold Call of Duty from PlayStation”

stands unchallenged. Op.44.

                                        ***

     In short, the district court’s consideration of the FTC’s primary

claim at trial shows that the court did not misapply the law. Mot.12-13.

Following the approach of many others, the district court evaluated the

evidence to form a “preliminary assessment of the merger’s impact on

acquisition,” and concluded that the FTC had failed to raise “serious, sub-

stantial, difficult, and doubtful” questions meriting further investigation.

Warner, 742 F.2d at 1162; Op.22, 32. 3 That is precisely what the law

required.

     C.        The District Court Properly Found that the FTC Did
               Not Show Likely Competitive Harm to the Putative
               Content-Library or Cloud-Gaming Markets.

     Unable to assail the district court’s findings in the console market,

the FTC now urges the Court to focus on alleged harm in the putative



     3  While adverting to the possibility of “partial[] … foreclosure”
whereby Microsoft could “limit[], degrad[e], or restrict[] rivals’ access to
Activision games,” Mot.9-10, the FTC does not challenge the district
court’s finding that there was no evidence either that Microsoft would
engage in partial foreclosure or that such a strategy would be anticom-
petitive. Op.45-46.

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content-library market. Mot. 14-15. This late pivot is unpersuasive. As

the district court correctly found, the FTC’s case as to this market and

the purported cloud-gaming market 4 failed on both the law and the facts.

                1.    The Expansion of Activision Games to New
                      Platforms Is Not Anti-Competitive.

       Content-library services and cloud gaming were barely featured in

the FTC’s case. For good reason. The evidence was overwhelming that,

but for this merger, Activision would continue withholding its content

from these putative markets—as it has long done—and that Activision’s

content would become available in these putative markets only if this

merger is consummated. It makes no sense to speak of Microsoft “fore-

closing” competitors from content they would not have without the mer-

ger.

       Among other evidence, the district court credited the testimony of

Activision’s CEO that, because of cannibalization and performance con-

cerns, the company will maintain its existing policy against providing

content to content-library and cloud-gaming services absent the merger.




      The district court assumed arguendo that these were relevant
       4

markets, as opposed to “simply alternative ways of playing console, PC,
and mobile games,” Op.28.

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See Op.48-49. The FTC failed to “offer any explanation, let alone evi-

dence, as to why it would be financially beneficial for Activision to change

its long-held stance on subscription services,” and the court found Ac-

tivision content was “not likely to be available [on cloud gaming] absent

the merger.” Op.49-50. Accordingly, this merger will increase output and

competition in these putative markets, as the FTC’s expert all but admit-

ted. Op.47-50; see Dkt.284 (Lee Tr.), at 608:24-609:6, 611:13-612:2; see

also Op.48 (“The FTC does not identify evidence that disputes these pro-

competitive effects.”).

     As the district court recognized, the FTC’s expert did not offer any

quantitative analysis to support its theories of harm related to content-

library and cloud gaming markets. Op.48-50. Nor did the FTC try to

show in any way that putative content-library and cloud-gaming markets

are “likely” to be substantially less competitive in the world with the mer-

ger than in the but-for world without it, as required by the law. See, e.g.,

AT&T, Inc., 916 F.3d at 1032. Their expert explicitly disavowed such a

showing, admitting that he could opine only that “an independent Ac-

tivision” is somewhat “more likely” than the combined company would be

to “support gaming services offered by Microsoft’s rivals.” Dkt.224 (Lee



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Decl.) ¶ 196 (emphasis omitted); accord id. ¶¶ 189-90, 197; Dkt.284 (Lee

Tr.), at 635:24-636:6. But to say that a merger makes an outcome “more”

likely—for example, by raising a 5% probability to a 10% probability—is

not to say that the merger makes that outcome likely to occur: a 10%

chance of rain does not mean that rain is “likely” (or “reasonably proba-

ble”).

         The FTC now perversely responds that the pro-consumer benefit of

increasing access to Call of Duty is somehow anticompetitive because

only one subscription service, Xbox’s Game Pass, will have Call of Duty

post-merger. Mot.14-15. But that is one more subscription service than

the FTC’s own expert predicted would have Call of Duty absent the mer-

ger. In characterizing this unambiguously pro-consumer outcome as an-

ticompetitive, the FTC commits the cardinal sin of antitrust: mistaking

a competitive disadvantage for a particular competitor (namely, the mar-

ket-dominant Sony) with harm to competition and consumers. See Bruns-

wick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 488 (1977); Op.39

(characterizing post-merger expansion of Activision content to new plat-

forms and delivery mechanisms as “[p]erhaps bad for Sony. But good for

Call of Duty gamers and future gamers”).



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              2.    The District Court Properly Considered the Post-
                    Merger World, Including Microsoft’s Contracts.

     The district court also did not err in considering the binding legal

agreements Microsoft has signed to bring Call of Duty to Nintendo’s con-

sole for the first time in a decade and to cloud gaming platforms for the

first time ever. Mot.15-17. This “factual reality,” Op.50, cannot be ignored

on the theory that these contracts are mere “proposed remedies.” Mot.15-

17. These agreements show both (1) that Microsoft is contractually bound

to provide Call of Duty and other Activision games to cloud gaming com-

petitors and (2) that it has no intention of foreclosing such competitors in

the first place. 5 Such binding contractual obligations are relevant to lia-

bility because they obviously affect the probability that a transaction will

result in a substantial lessening of competition.

     Case after case supports this point:

     •        AT&T, Inc., 916 F.3d at 1041: Held that the vertically inte-
              grated firm’s contractual obligations to arbitrate disputes
              with downstream rivals about access to upstream content

     5  The FTC also claims (Mot.11) there is no reason to expect that
these agreements will bind Microsoft or benefit the cloud gaming provid-
ers. But to suggest that Microsoft has somehow duped these sophisticated
technology companies—including Nvidia, “a sophisticated publicly-
traded company,” Op.49, with a market capitalization of $1 trillion—is
not credible. Rather, the companies’ willingness to sign these agreements
is proof they will be both enforceable and beneficial. See id.

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           made the government’s foreclosure-related concerns “largely
           irrelevant.”

     •     RAG-Stiftung, 436 F. Supp. 3d at 304: Relied upon the merg-
           ing firms’ commitment to divest a key plant to a new compet-
           itor as a basis for denying the FTC’s motion for a preliminary
           injunction.

     •     UnitedHealth, 630 F. Supp. 3d at 139-51: Considered struc-
           tural guarantees, including firewalls and customer contracts,
           that would prevent the disclosure of customers’ competitively
           sensitive information as part of the government’s burden to
           show a substantial lessening of competition.

     •     Arch Coal, Inc., 329 F. Supp. 2d at 115 n.2: Rejecting the
           FTC’s argument that the court could not consider a post-mer-
           ger agreement to divest a subsidiary.

     The FTC offers no real response. First, United States v. Greater Buf-

falo Press, Inc., 402 U.S. 549 (1971), did not hold that such agreements

can be considered only “at the subsequent remedy stage of a merits pro-

ceeding.” Mot.16. In that case, “the District Court found no violation of

§ 7,” and thus did not reach whether to order divestiture. 402 U.S. at 556.

The decision says nothing about whether or when courts should consider

post-merger agreements.

     Second, these agreements do not represent an “efficiencies defense.”

Mot.16-17. The point is not that efficiencies justify a merger that lessens

competition, but that the contracts are further merger-specific evidence

of why the transaction will not lessen competition in the first place. See


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FTC v. Tenet Health Care Corp., 186 F.3d 1045, 1054 (8th Cir. 1999)

(holding “the district court should nonetheless have considered evidence

of enhanced efficiency in the context of the competitive effects of the mer-

ger”); Op.39.

     D.     Withholding   Call   of   Duty                Would       Not     Be
            Anticompetitive In Any Event.

     Because the FTC failed to show that the combined firm was un-

likely to withhold Call of Duty from rivals, the district court did not need

to reach the ultimate question of whether such withholding was likely to

“substantially to lessen competition” within the meaning of Section 7. But

the FTC offered no plausible basis for predicting any such harm to com-

petition even if Microsoft had the incentive and ability to engage in an

exclusivity strategy of withholding Call of Duty. For that independent

reason, too, the FTC is unlikely to prevail either in this appeal or in its

administrative trial. See United States v. Microsoft Corp., 253 F.3d 34, 58

(D.C. Cir. 2001) (en banc) (practice has an “anticompetitive effect” only if

it “harm[s] the competitive process and thereby harm[s] consumers”).

     At bottom, the FTC’s case boils down to the proposition that its pos-

tulated shift of 5.5 percent of the market away from the dominant firm,




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Sony, to its much smaller rival Microsoft, as a result of potential exclu-

sivity, would somehow “substantially lessen” competition. But the FTC

does not even allege that such a shift would enable Microsoft to surpass

Sony; it would simply make the market less concentrated than it is today

and presumptively more competitive.

         More broadly, exclusivity arrangements—whether formed by a con-

tract or as the result of vertical integration—are ubiquitous throughout

the economy (and especially in the gaming industry, Op.8-10) and are

generally procompetitive. See, e.g., Paddock Publ’ns, Inc. v. Chi. Trib. Co.,

103 F.3d 42, 44 (7th Cir. 1996). 6 Any resulting “foreclosure” of third par-

ties poses antitrust concerns only if it deprives them of efficient scale or

otherwise marginalizes them as competitors. See McWane, Inc. v. FTC,

783 F.3d 814, 838-39 (11th Cir. 2015); Microsoft, 253 F.3d at 71. The FTC

cites no evidence supporting such findings because there was none at

trial.




        Indeed, both Sony and Nintendo have entered into a wide range
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of exclusivity agreements of their own with various game publishers, and
each has far more such arrangements than Xbox does. See Op. 8.

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II.   The FTC Has Failed to Show a Risk of Irreparable Harm,
      and the Balance of Equities Militates Against an Injunction
      Pending Appeal.

      The FTC likewise cannot show irreparable harm and a favorable

balance of equities to warrant an injunction pending appeal. See supra

p.7. Applying the appropriate legal standard, the district court reached

the same conclusion. Op.51-52.

      A.   Denial of an Injunction Pending Appeal Will Not Harm
           the FTC or the Public.

      1.   There is no plausible risk that consummation of this transac-

tion would cause any harm to consumers or competition while this appeal

is pending. As the district court noted, “[b]y pre-existing contract, Call of

Duty will remain on PlayStation through the end of 2024.” Op.52; see U.S.

v. Marine Bancorp, 418 U.S. 602, 623 n.22 (1974) (alleged harm must be

“imminent”). And, as discussed above, adding Call of Duty to Game

Pass—the first time it will be available on any subscription service—is

not a “foreclosure,” still less a “harm.” See supra §I.C.1. Thus, there will

be “no foreclosure of Call of Duty pending the ALJ’s decision.” Op.52.

      The FTC argues that the merger will cause irreparable, immediate

harm due to Microsoft gaining access to unspecified “confidential data”

that its rivals share with Activision, as well as from those rivals refusing


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to share that information with the combined firm in the future. Mot.18.

As the district court found, however, “the only evidence the FTC identi-

fie[d] is Sony’s reluctance to share its intellectual property with Microsoft

and provide development kits for its consoles.” Op.45. But that claim was

“not merger-specific,” id., because Sony already shares such information

with Microsoft in connection with the development of Microsoft’s existing

first-party games for the PlayStation. The FTC also “fails to account for

all the other developers who might now be incentivized to collaborate

with Xbox or one of its studios like Activision or Bethesda,” Op.45, which

could more than make up for any hypothetical harms from Sony’s alleged

future non-cooperation with Xbox.

     Second, permitting this merger to close also poses no risk to the

FTC’s ability to impose an appropriate remedy in the unlikely event that

it proceeds with and prevails in the administrative proceeding and is up-

held on appeal. As the district court found, the post-merger company will

be structured and operated in a way that would readily enable Microsoft

to divest any or all of the Activision businesses as robust market partici-

pants in the unlikely event that such a divestiture is ordered. Op.3, 52;

see Dkt.286 (Stuart Tr.), at 1035:24-1036:23 (describing plan to operate



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Activision as a limited-integration studio); Dkt.253 (Hood Decl.) ¶ 6

(same). The FTC offered no evidence that post-merger remedies, includ-

ing divestiture, would be ineffective. Op.52 (“What exactly about the mer-

ger would make it difficult to order an effective divestiture? The FTC does

not say.”).

      The FTC’s citations to the contrary, see Mot. 17, are completely off

point. Qualcomm is not a merger case at all, and Warner and Whole Foods

involved horizontal mergers, where the “combin[ing] operations” often

means closing stores, factories, and other redundant assets that may be

impossible to reconstitute if the merger is later found unlawful. See, e.g.,

FTC v. H.J. Heinz Co., 246 F.3d 709, 726 (D.C. Cir. 2001) (upholding pre-

liminary injunction “because Beech-Nut’s manufacturing facility … [and]

distribution channels will be closed”). As just explained, this vertical mer-

ger raises none of these concerns.

      B.      An Injunction Would Substantially Harm the Public
              and Defendants.

      On the other side of the equitable balance, an injunction pending

appeal would injure defendants and consumers by imperiling this trans-

action and its competitive benefits. See Mo. Portland Cement Co. v. Car-

gill Inc., 498 F.2d 851, 870 (2nd Cir. 1974); Weyerhaeuser Co., 665 F.2d


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at 1087. Here, the parties’ merger agreement has a July 18 termination

date, at which time Activision can terminate the deal and seek to collect

a $3 billion break-up fee. Op.20. 7 Any injunction that “would force [the

parties] to abandon” a merger causes “private injuries entitled to serious

consideration” in balancing the equities. Warner, 742 F.2d at 1165.

     Forcing the parties to abandon this merger would further harm the

public equities by depriving consumers of its “beneficial economic effects

and procompetitive advantages,” including making “the future of the

gaming industry” more competitive, Mot.1, by ensuring greater dissemi-

nation of Activision content across multiple gaming platforms. See FTC

v. Pharmtech Rsch., Inc., 576 F. Supp. 294, 299 (D.D.C. 1983) (citing

Weyerhaeuser Co., 665 F.2d at 1082-83); see also Warner, 742 F.2d at 1165

(“public equities” include procompetitive benefits for consumers). By con-




     7 These costs are clearly cognizable in the balance of the equities.
See FTC v. Weyerhaeuser, Co., No. 80-3175, 1981 WL 2059, at *10
(D.D.C. Mar. 25, 1981) (weighing harm to one set of shareholders from
preliminary injunction); FTC v. Lab. Corp. of Am., 2011 WL 3100372, at
*22 (C.D. Cal., March 11, 2011) (“when the government is the plaintiff …
the merging parties will not be compensated for their harm during the
pendency of the injunction, which renders such harm irreparable”), in-
junction pending appeal denied, No. 11-55293 (9th Cir., March 14, 2011).

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trast, the FTC’s purported “harm in the market for multi-game subscrip-

tion services” if Call of Duty is “offered exclusively on Game Pass,” Mot.

18—which is to say, offered on any subscription service for the first time—

or if Microsoft gains access to unidentified “confidential data of its rivals

that is now in the possession of Activision,” id., is purely speculative and

unsupported by the evidentiary record. Op.45, 47-49.

     Finally, the FTC is simply wrong to contend that the parties could

readily extend their agreement on the theory that “if the merger makes

economic sense now” it will make sense after the appeal concludes. See

Mot.19-20 (citation omitted).8 “It is often difficult or impossible for busi-

nesses to wait fourteen plus months while the FTC determines whether

a merger is anti-competitive.” FTC v. Foster, 2007 WL 1827098, at *6

(D.N.M. May 30, 2007). This Court’s appellate process alone could easily

take over a year, and at minimum several months. As Activision’s CEO

testified at trial, if a “preliminary injunction is granted,” Activision’s



     8  The FTC’s reliance on Heinz for this point is ironic given that the
injunction granted in Heinz did, in fact, kill the proposed merger. See
FTC v. H.J. Heinz Co., 164 F. Supp. 2d 659, 659 (D.D.C. 2001) (noting
that the company “announced publicly within hours of the Court of Ap-
peals’ decision [granting a preliminary injunction] that it had abandoned
its plans to acquire Beech-Nut Foods”).

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board does not “see how the deal could continue.” See 6/28/23 Tr. (Ko-

tick), at 739:19-22.

                               CONCLUSION

     This Court should deny the FTC’s motion for an injunction pending

appeal.

July 14, 2023                           Respectfully submitted,

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                 STATEMENT OF RELATED CASES

     Pursuant to Circuit Rule 28-2.6, Microsoft and Activision state that

the Court is currently considering one case that involves the same trans-

action at issue in this case. In DeMartini v. Microsoft Corp., No. 23-15846,

the plaintiffs request that this Court reverse the District Court’s denial

of a preliminary injunction to enjoin the Microsoft-Activision merger.


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                  CERTIFICATE OF COMPLIANCE

     This Brief complies with the type-volume limitations of Circuit

Rules 27-1(1)(d) and 32-3(2) because it contains 5,331 words, excluding

the parts of the brief exempted by Federal Rules of Appellate Procedure

27(a)(2)(B) and 32(f).

     This Brief also complies with the typeface and type-style require-

ments of Federal Rule of Appellate Procedure 32(a)(5)-(6) because it has

been prepared in a proportionally spaced typeface using the Microsoft

Word 365 word processing system in 14-point Century Schoolbook font.


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